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                                 United States District Court
                                            EASTERN DISTRICT OF OKLAHOMA
UNITED STATES OF AMERICA,
                                                                        CRIMINAL COMPLAINT
                                             Plaintiff,

v.                                                                      Case No.         22-MJ-301-KEW
EDUARDO NMN GARCIA, a/k/a Eduardo
Garcia Olvera, a/k/a Eduardo Olvera Garcia,

                                             Defendant.



      I, Rebecca Davison, the undersigned complainant, state that the following is true to the best of my
knowledge and belief.

        On or about November 4, 2022, in the Eastern District of Oklahoma, EDUARDO NMN GARC IA,
a/k/a Eduardo Garcia Olvera, a/k/a Eduardo Olvera Garcia, committed the crime of Felon in Possession
of a Firearm and Ammunition in violation of 18 U.S.C. §§ 922(gXI) and 924(a)(8).

       I further state that I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and
Explosives, and that this complaint is based on the following facts:

        (See attached Affidavit of Special Agent Rebecca Davison, which is attached hereto and made a
part hereof by reference.)

             l&I           Continued on the attached sheet.



                                                              Rebecca Davison
                                                              Special Agent
                                                              Bureau of Alcohol, Tobacco, Firearms, and
                                                              Explosives




Sworn to me on November 16 , 2022.
KIMBERLY E. WEST
UNITED STATES MAGISTRATE JUDGE
                                                              Signature ofJudicial Officer
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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Rebecca Davison, being duly sworn, does depose and state the following:

                     AGENT BACKGROUND AND INTRODUCTION

       1.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF) within the meaning of 18 U.S.C. § 3051, and as such, am an officer of the United

States who is authorized to investigate violations of the laws of the United States and to execute

warrants issued under the authority of the United States. I have been employed by ATF since

December 2020. In 2021, I completed the Criminal Investigator Training Program required by the

ATF to be an ATF criminal investigator. I also completed the Special Agent Basic Training

Academy required by ATF for all special agents employed by ATF. In connection with my official

duties as an ATF Special Agent, I investigate criminal violations of federal firearms laws, federal

explosives laws and federal narcotics laws. I have further worked alongside other experienced

investigators in relation to firearms and narcotics investigations.

       2.      This affidavit is made for the limited purpose of establishing probable cause in

support of a criminal complaint alleging that EDUARDO NMN GARCIA, hereafter referred to as

GARCIA, did possess firearms and ammunition in violation of 18 U.S.C. §§ 922(g)(1) and

924(a)(8).   GARCIA also uses the pseudonym Eduardo GARCIA OLVERA and Eduardo

OLVERA GARCIA.

       3.      I know GARCIA is a felon who has been convicted of a crime punishable by

imprisonment for a term exceeding one year, and therefore prohibited from the possession of

firearms and/or ammunition pursuant to 18 U.S.C. §§ 922(g)(1) and 924(a)(8). Specifically,

GARCIA has been convicted for the felony offense of Driving Under the Influence in Cherokee

County, Case No. CF-2001-49. GARCIA received a prison sentence of 5 years under the custody

and control of the Oklahoma Department of Corrections. All terms of imprisonment were


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suspended under the rules and conditions of supervised probation. I believe GARCIA knows he

is prohibited from possessing firearms and ammunition based off of certified copies of judicial

documents containing his signature on the probation review form.

           4.        The statements made in this affidavit are based in part on: (a) my personal

participation in this investigation; (b) information provided to me by other law enforcement

officers; and (c) the training and experience of myself and other law enforcement agents and

officers.

                                FACTS SUPPORTING PROBABLE CAUSE

           5.        On October 27, 2022, the ATF Tulsa Field Office received crime gun intelligence

regarding multiple sales of firearms that were purchased by four members and two associates of

the same family, the Lopez family, in Tahlequah, Oklahoma. As a background, Federal Firearms

Licensees (FFL) are required to report any transaction over a period of five (5) consecutive

business days where two (2) or more pistols or revolvers are sold to any non-licensee. Specifically,

one firearm was recovered by law enforcement in Mexico on August 26, 2022, with a time-to-

crime of 125 days. Time-to-crime means the time from which the firearm was purchased until the

time it was recovered by law enforcement. In total, based upon sales data collected by the ATF,

approximately 92 firearms were purchased by the Lopez Family within the last year.

           6.        Of the purchases found through crime gun intelligence analysis, the most recent

purchases occurred on October 6 and 7, 2022. On October 6, 2022, Savannah Lopez (SL)

purchased seven (7) firearms from Double D Pawn in Muskogee, Oklahoma. Three of these

firearms were .22 caliber pistols, two were .380acp pistols, and one was a 9mm pistol. On the

background check form, also known as an ATF Form 4473, SL provided her old address, Redacted

Redacted        , Tahlequah, Oklahoma, as opposed to her current address, which is Redacted        ,

Tahlequah, Oklahoma, in violation of 18 U.S.C. § 922(a)(6). Also on October 6, 2022, SL’s


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husband, Eric Jesus Lopez (EJL), purchased six (6) firearms from Mike’s Outdoors in Muskogee,

Oklahoma. Five of these firearms were Glock 9mm pistols and one was a Smith & Wesson 9mm

pistol. On October 7, 2022, Francisco Hernandez (FH), who was identified by Eric Lopez (EL) as

a friend of the family and a firearm purchaser for GARCIA, purchased eight (8) firearms from

Double D Pawn. Three of these firearms were 9mm pistols and five were .22 caliber pistols.

        7.    On November 1, 2022, agents conducted interviews with members of the LOPEZ

family, including Savanna Lopez (SL), Eric Lopez (EL), Eric Jesus Lopez (EJL), Christian Lopez

(CL), Maria Lopez (ML), and Kortney Pickering (KP), who is CL’s girlfriend. SL stated she has

been married to EJL since 2018 and they have lived at his parents’ (EL and ML) residence located

at Redacted        , Tahlequah, Oklahoma, for approximately six to eight months. SL admitted

in a post-Miranda interview with agents that she and her husband, EJL, were directed by his

parents, EL and ML, to purchase firearms on behalf of ”Lalo”. “Lalo” was later positively

identified as Eduardo GARCIA. According to SL, GARCIA provided the cash to purchase the

firearms. SL said GARCIA accompanied her and EJL to the gun store at least once when she

purchased firearms for GARCIA. EJL and GARCIA pointed out which guns to buy. EJL and SL

physically carried the guns out of the store. They were then transported back to EL’s and ML’s

residence and left in the garage for GARCIA to pick up. She stated GARCIA didn’t come inside

of the house to pick up the guns but that EJL and EL would take them out to GARCIA. SL recalled

purchasing firearms for GARCIA at Mike’s Outdoors and Double D, both in Muskogee,

Oklahoma, and H&H Pawn in Stilwell, Oklahoma. SL stated she does not work and her and EJL

bought the guns for GARCIA because they needed the money, and it made her feel like she was

contributing to the family. SL could not recall how much she and EJL were paid to purchase guns

for GARCIA. SL stated she was directed by EJL and GARCIA to falsify the background check

form by providing her old address instead of the correct address. SL identified GARCIA’s vehicle


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as a dark colored lifted truck. She said that she assumed GARCIA had trafficked the guns to

Mexico.

       8.     Also, on November 1, 2022, agents conducted a post-Miranda interview with EL.

Agents showed EL a photograph obtained from social media of EL standing next to a person law

enforcement believed was GARCIA. Agents asked EL to identify the person standing next to him

in the photograph, and EL positively identified that person as his cousin, GARCIA (see photograph

below; EL is on the left and GARCIA is on the right).




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       9.     EL stated GARCIA lives in a trailer, two trailers up the driveway, off Park Hill

Road in Tahlequah, Oklahoma. EL provided GARCIA’s phone number as Redacted -2303 and

stated he (EL) last spoke to him (GARCIA) that day (November 1, 2022) about law enforcement

being at EL’s house. EL provided three vehicle descriptions that GARCIA typically drives: a

white truck, white Ford van, and a black Cadillac Escalade. He described the van as a work van

with a big rack on the top to carry ladders. EL said that GARCIA travels to Mexico one to two
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times per month and drives either the truck or van across the border into Mexico. GARCIA does

not work at a workplace but is a construction worker and has a general store in Queretaro, Mexico.

EL told agents that FH, EL, EJL, SL, and CL all have purchased firearms on behalf of GARCIA

and recalled both FH and EJL buying some in October 2022. These guns from the October

purchase were taken straight to the GARCIA’s residence. EL stated GARCIA pays him $100 per

gun purchased for him. GARCIA tells EL specifically what guns to purchase and typically

requests batches of twenty guns at a time. GARCIA asks EL and his family to purchase guns about

once a month. Sometimes the guns are taken straight to GARCIA’s house and sometimes they are

picked up by GARCIA at EL’s house. EL stated GARCIA told him GARCIA does not take them

to Mexico himself because he does not take anything illegal across the border. EL would not tell

agents who transports the guns to Mexico and stayed silent when asked. EL stated he conducts

the purchases on behalf of GARCIA because he needs the extra money for bills. EL gave agents

consent to search his cell phone. During a search of the cell phone, agents discovered multiple

messages and photos between EL and GARCIA discussing firearms.

       10.     Later on November 1, 2022, agents conducted a post-Miranda interview with EJL.

Agents showed EJL the same social media photograph (above) of EL and GARCIA. EJL

positively identified GARCIA as “Lalo” and EL as his father. EJL works detailing cars for about

$300 to $500 per week. EJL stated he purchased around 18 to 22 guns in the past year, on four (4)

separate occasions. EJL claimed he could not recall when he last purchased guns (the investigation

to date revealed the last purchase was only a month prior). According to EJL, the most he has

purchased in the past at one time was 10 to 12 guns. EJL remembered it was at Double D’s in

Muskogee and SL was with him. GARCIA was also present at Double D’s when EJL purchased

the guns and GARCIA pointed out which guns he wanted EJL to buy. GARCIA told EJL not to

give him the guns at the store. Instead, EJL stated he would leave the guns in the vehicle at his


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residence and GARCIA would come by some time to take them out of the vehicle and take

possession of them. He did not know what GARCIA does with the guns. GARCIA has asked EJL

to purchase guns about three (3) times this year. GARCIA would call EJL directly to arrange the

purchases. EJL reached out to SL (EJL’s wife) to purchase guns also so that they could spread the

purchases out and keep the suspicion down. EJL did not know how GARCIA was trafficking the

guns into Mexico. EJL stated he did not know how much he was paid to purchase the guns for

GARCIA. EJL gave agents consent to search his cell phone. His cell phone has not yet been

analyzed due to having a broken screen.

        11.   Again, on November 1, 2022, agents conducted a post-Miranda interview with CL,

who is EL’s son. Agents asked CL who “Lalo” was. CL stated “Lalo” is his father’s cousin, and

CL last saw him (“Lalo”) the week prior at EL’s residence. CL denied purchasing guns for

GARCIA. Agents advised CL of the guns that were reported on a multiple firearm sale and CL

told agents he kept some of the guns and traded or sold some. CL gave agents consent to search

his cell phone. The cell phone has not yet been analyzed.

        12.   On November 1, 2022, agents conducted a post-Miranda interview with ML.

Agents showed ML the same photograph of EL and GARCIA. She positively identified “Lalo” as

GARCIA and said he was EL’s cousin. She last saw GARCIA about a week prior when he came

by her residence. ML stated GARCIA drives a white van and a black Cadillac. ML denied any

knowledge of firearms being purchased for GARCIA. ML gave agents consent to search her cell

phone. The cell phone has not yet been analyzed.

        13.   On November 2, 2022, based on the description given by members of the Lopez

family of GARCIA’s residence, agents located the residence believed to be where GARCIA lives

– Redacted                                Tahlequah, OK, depicted in the photograph below:




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       15.    A check of the National Crime Information Center (NCIC) reported the Vehicle

Identification Number (VIN), 1FBSS31L89DA65766, on the van was registered to GARCIA and

was issued on December 10, 2021. The address on the registration was for another location

associated with GARCIA, Redacted                     , Tahlequah, OK. Agents also observed a

white, enclosed trailer parked behind the residence bearing Oklahoma plate, 586 2P2, depicted in

the photograph below. An NCIC query of this plate number also came back to GARCIA and was

issued on February 10, 2022.




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       16.     Another trailer behind the residence bearing Oklahoma plate, 9P4 625, was queried

in NCIC and was registered to GARCIA at Redacted                      , issued on June 21, 2021.

This trailer is depicted in the photograph below:




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       17.    On November 4, 2022, agents traveled to 1858 South Park Hill Road, Trailer 10,

Tahlequah, OK, to locate and conduct an interview with GARCIA. Agents contacted occupants

Fermin Garcia-Lopez (FG) and Salomon Magarena (SM). When agents spoke to FG and SM, they

stated they were currently residing at the residence-FG for about three to four months and SM for

a few years. SM slept on the couch in the living room. FG slept on the other living room couch

and used GARCIA’s bed only when GARCIA was out of town. Another occupant who was not


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present at the time of the agents’ contact, Carlos Mojica (CM), slept in the second bedroom. FG

and SM both told agents GARCIA was in Mexico and had been there for about two weeks. Both

FG and SM gave agents written consent to search the residence, vehicles, and trailer on the

property. FG and SM both denied ownership of any of the firearms, ammunition, or firearm

accessories located in the trailer. Agents located Oklahoma vehicle registration in GARCIA’s

name on the kitchen table with a listed address of Redacted            , Tahlequah, OK. These

items are depicted in the photographs below:




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       22.    A Ruger model PC Carbine, 9mm caliber, semi-automatic rifle, bearing serial

number 912-66302 was found in a brown, Smith & Wesson cardboard box inside of the closet, as

depicted in the photographs below:




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       23.     A completely built AR-15 style upper receiver in 5.56 NATO caliber was found

wrapped up inside of a red, plastic tote inside of the closet, as depicted in the photographs below.

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       26.    In the living room, agents located thirteen (13) bundles of .38 super caliber

ammunition that was packaged in multiple layers of materials including plastic, aluminum foil,

and tape. The bundles were placed in a lunch box, inside of an enclosed plastic tote. Black duct

tape matching the tape used to wrap the bundles was located on the countertop just above the

plastic tote. These items are depicted in the photographs below:




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       27.    Agents located nineteen (19) empty gun boxes in the residence. Nine (9) various

manufacturer boxes were stacked right next to the front door, two (2) shotgun cases were on top

of the totes containing the bundles of ammunition, six (6) various manufacturer boxes were

underneath the couch, and two (2) were in GARCIA’s closet. Five (5) of the boxes found stacked

by the front door had serial numbers on the outside of them and were matched to firearms

purchased by FH on October 7, 2022. These items are depicted in the photographs below. Agents

asked FG and SM if any of the firearms and ammunition belonged to them to which they stated

no. Neither FG or SM have legal United States citizenship documentation and therefore cannot

possess firearms.




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       28.    FG supplied keys to the black Cadillac Escalade. A T-Mobile shopping bag was in

the cargo area of the black Cadillac Escalade with a receipt dated October 11, 2022, containing

GARCIA’s name and an additional phone number other than what was previously known to be

GARCIA’s: Redacted -2297. These items are depicted in the photographs below.




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        31.     FH consented to agents to take possession of five (5) firearms and various

ammunition he had in his possession and voluntarily signed an ATF Form 3400.1. Consent to

Forfeiture or Destruction of Property and Waiver of Notice. It should be noted that agents are

aware of six multiple sale transactions of firearms by FH at a Federal Firearms Licensee (FFL) for

a total of 29 firearms in just eight (8) months. FH stated he has been in between jobs and was

currently unemployed.

        32.     On November 4, 2022, I spoke with ATF Special Agent Sterling Juarez, who is an

interstate nexus expert. SA Juarez examined the firearms found in GARCIA’s bedroom closet and

subsequently seized on November 4, 2022, which are described as: Mossberg model 185k, 20ga,

bolt-action shotgun, bearing no serial number; Browning, model A-5, 20ga, semi-automatic

shotgun, bearing serial number 07218NV231; and a Ruger model PC Carbine, 9mm caliber, semi-

automatic rifle, bearing serial number 912-66302. He also examined the ammunition that was

found in the residence which is described as assorted manufacturer and various calibers to include,

but not limited to: .22 long rifle, 7.62x39, 7.62x51, .38 special, .38 super, 9mm, 300 blackout, .30-

06, 12gauge, and .45acp. The various manufactures include but are not limited to: Federal,

Remington, Remington – Peters, Winchester, CCI, Kent Cartridge, and Monarch. It is Special

Agent Juarez’s opinion that the aforementioned firearms and ammunition described above were

manufactured outside of the State of Oklahoma and have traveled in and affected interstate

commerce. The firearms are in fact classified as firearms, which the term “firearm” is defined in

Title 18, United States Code (USC), Chapter 44, Section 921(a)(3).

        33.     Since this affidavit is being submitted for the limited purpose of enabling a judicial

determination of whether probable cause exists to justify the issuance of a criminal complaint for

GARCIA, I have not included each and every fact known concerning this investigation to me and

others involved in this matter. I have set forth only the facts that I believe are essential to establish


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                               KIMBERLY E. WEST
